

McCurrie v New York City Animal Care Ctr. (2024 NY Slip Op 00976)





McCurrie v New York City Animal Care Ctr.


2024 NY Slip Op 00976


Decided on February 27, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 27, 2024

Before: Singh, J.P., Friedman, González, Higgitt, Michael, JJ. 


Index No. 150453/22 Appeal No. 1767 Case No. 2022-01373 

[*1]Denise McCurrie, Plaintiff-Respondent,
vNew York City Animal Care Center, Also Known as New York Animal Care and Control., Defendant-Appellant.


Foley &amp; Lardner LLP, New York (Marcella M. Jayne of counsel), for appellant.
Law Office of Nora Constance Marino, Great Neck (Nora Constance Marino of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Leslie Stroth, J.), entered on or about March 11, 2022, which granted plaintiff's motion to compel defendant New York City Animal Care Center (ACC) to disclose the name of a third-party rescue organization to which ACC transferred her dog, unanimously dismissed, without costs, as moot.
Defendant completely and timely complied with the court's order by providing the name of the third-party rescue organization to the court and plaintiff's counsel, and the court's order did not impose any continuing discovery obligations. Therefore, the order has no further practical consequences for the parties and this appeal is moot (see Saratoga County Chamber of Commerce v Pataki, 100 NY2d 801, 811 [2003], cert denied 540 US 1017 [2023]; Matter of Braxton v Commissioner of N.Y. City Police Dept., 283 AD2d 253 [1st Dept 2001]; compare Matter of Camara v Skanska, Inc., 150 AD3d 548, 549 [1st Dept 2017]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 27, 2024








